Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 1 of 15 Page|D: 288

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I-IOWARD GORBATY :Civil Action No.: 2:18-cv-16691-CLW
Document filed Electronz'cally

Plaintiff,
Civil Action
v.

MITCHELL HAMLIN SCHOOL OF LAW

Defendant.

 

 

PLAIN'HH-"S OPPOSI'HON BRIEI-' TO DEFENDANT’S MOHON TO DISMISS FOR LACK
OI-` IURISDICHON 6 OTHER RELEH-`

 

Christopher Luongo, Esq.
Attorney for Plaintiff

On Brief: Christopher Luongo, Esq.
Dated: ]anuary 11, 2019

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 2 of 15 Page|D: 289

TABLE OF AUTHORITIES

Ackourey v. Sonellas Custom Tailors, 573 Fed. Appz. 208, 211 (3rd Cir. 2014) ........ 6

Az)del Corp. z). Mecure, 58 N.]. 264, 268 (1971) ............................................. 5
Burger King Corp. 7). Rudzewz'cz, 471 U.S. 462 (1985) ................................. 6, 10
Daz'mler AG z). Bauman, 571 U.S. 117, 134 (2014) ...................................... 4,5

Goodyear Dunlop Tires Operations, S.A. z). Brown, 564 U.S. 915, 924 (2011) ....... 4,6

Int’l Shoe Co. V. Wash., 326 U.S. 310, 316 (1945) ........................................... 6

In't Unz'on Local No.: 68 Welfare Fund U. Merck 8 Co., Inc., 192 N.]. 372, 389 (2007)..15

Keeton U. Hustler Magazine, Inc. 465 U.S. 770 (1984) ...................................... 6, 9
Kloth z). Southern Chrz'stian Uniz)ersity, 320 F. App'x 113, 115-16 ......................... 8
McGee z). Int’l Life Ins. Co., 355 U.S. 220, 223 (1957) ......................................... 9

8 Metcaljk z). Renaissance Martz`ne, Inc., 566 F. 3d 324, 330 (3rd Cir. 2009) ................. 3
Sheet Metal Workers Int’l Ass’n Local Union No. 27, AFL-CIO v. E.P. Donnelly, Inc., 737
F3rd. 879, 900 (4rd Cir. 2013.) ................................................................. 14
O’Connor v. Sandy Lane Hotel, Co., 496 F.3d 312, 316 (3rd. Cir. 2007) .................. 3
Waste Management, Inc. v. Admiral Insumnce Co., 138 N.]. 106, 119 (1994) .......... 4

Zippo MI-`G. Co. v. Zippo Dot Com, Inc., 952 F. Supp. 1119, 1124 (W.D.Pa. 1997).....7

 

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 3 of 15 Page|D: 290

LEGAL STANDARD & COUNTERSTATEMENT OF FACTS

Plaintiff Howard Gorbaty is seeking relief, including contractual damages in
the form of specific performance, i.e., admittance to the defendant’s law school¢
after he Was unjustly removed from the same. The thrust of the plaintiff’s argument
is that the defendant arbitrarily removed him its school, While others similarly
charged have not, Without an opportunity to vet his case.

NoW this same law school seeks to dismiss his case With a similar
Machiavellian maneuver, a motion for dismiss based upon lack of jurisdiction.

The Plaintiff bears the burden of alleging facts that demonstrate that this
Court has personal jurisdiction over the Defendant, O’Connor v. Sandy Lane Hotel,
Co., 496 F.3d 312, 316 (3rd. Cir. 2007). If the defendant challenges the Court's
personal jurisdiction over the Defendant, the Plaintiff is permitted to demonstrate
the personal jurisdiction through affidavits or other competent evidence. Metcalfe v.
Renaissance Martine, Inc., 566 F. 3d 324, 330 (3rd Cir. 2009). Contrary to the assertions
made in Defendant’s brief, Brief in Support of Motion, p. 7, the ” stringent standard'
for finding personal jurisdiction over schools and universities is used in the general

jurisdiction contest. Watiti v. Walden Unz`z)., No. CIV. A. 07-4782 ]AP, 2008 WL
2280932 at *6 (2008). In fact, that case notes that Where distance, 0r11ir1e learning is

involved, the deference given to universities is lower than that for physical ”bricl<

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 4 of 15 Page|D: 291

and mortar” institutions Id. In the online context, the deference may be done away
With altogether. Id.

Through the admissions in Defendant's Brief in Support of its Motion to
Dismiss, this Court has personal jurisdiction over Defendant, thus this court should
not dismiss the Complaint. Howard Gorbaty is domiciled at 204 Twin Oal<s Terrace
Westfield, NeW ]ersey. See Plaintiff’s application - Defendant's Exhibit A. The
defendant admits it has four students in New ]ersey. Defendant's brief - Certification
of Christine Szaj. The defendant’s school is an internet based school Whose students
attend primarily over the internet other than having its student’s attend class at the
physical location for ten Weeks during their four years. Defendant's brief -
Certi_fication of Cl'u‘istine Szaj.

LM_L_AB_QM_EEI
For the reasons described below, this Court has jurisdiction over the defendant
Personal jurisdiction can be either general or specific. A corporation is only subject
to general jurisdiction in the state in Which it is incorporated and the state that
functions as its principal place of business Daimler AG v. Bauman, 571 U.S. 117, 134
(2014) (citing Goodyear Dunlop Tires Operatz'ons, S.A. z). Brown, 564 U.S. 915, 924

(2011). Mitchell Hamline is incorporated and has its principal place of business in
Minnesota. See, Szaj DeC., ‘|j 2. Consequently, Gorbaty does not claim that this Court

has general jurisdiction over Defendant,

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 5 of 15 Page|D: 292

However, a defendant is subject to specific jurisdiction when the ”cause of
action” arises directly out of a defendant’s contacts with the forum state, Waste
Management, lnc. 7). Admiml Insurance Co., 138 N.]. 106, 119 (1994). I-Ience, this Court
does, however, have specific jurisdiction over Defendant,
I. This Court has Specific Iurisdiction Over Defendant, thus the Complainti

Should N ot be Dismissed.

Federal courts have personal jurisdiction over any defendant that a state
court Would have in that jurisdiction. Daimler AG, 571 U.S. at 125 (citing, Fed. R. Civ.
P. 4(k)(1)(A)). If the Defendant is subject to personal ”jurisdiction of a court of
general jurisdiction in the state where the district court is located,” the federal
district court has personal jurisdiction over the defendant Walden z). Fiore, 571 U.S.
277, 283 (2014). Thus, the first step in a personal jurisdiction analysis is to look to
~the state's statutes

A. The Constitution of the United States Allows for this Court to exercise
Personal Iurisdiction over Defendant.

Specific jurisdiction is permissible so long as its exercise ”does not offend
traditional notions of fair play and substantial justice.” Int’l Shoe Co. V. Wash., 326
U.S. 310, 316 (1945). Case law has developed a three-step test to determine whether

the principles announces in International Shoe are metz purposeful

availment/ contact with the forum state, relatedness between that contact and the

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 6 of 15 Page|D: 293

claims of the complaint, and fairness to the parties of litigating in the forum state,
See, e.g., World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980).

1. Defendant has Sufficient Contact with New ]ersey to Establish Personal
]urisdiction

If a defendant’s connection with the forum state is such that he should
reasonably anticipate being haled into Court in that state, then jurisdiction is proper
in that forum. Id. at 297. The intentional act of a defendant that would foreseeably
lead to litigation in the forum state establishes specific jurisdiction over the
defendant See, e.g. Keeton U. I-Iustler Magazine, Inc. 465 U.S. 770 (1984) (where a claim
for a libelous magazine article created specific jurisdiction in all states where that
magazine issue was sold).

Contact with the forum state need not be physical entry into the state, Burger
King Corp. v. Rudzewicz, 471 U.S. 462, 476 (1985). With regards to the internet, ”the

~likelihood that personal jurisdiction can be constitutionally exercised is directly
proportionate to the nature and quality of commercial activity." Zz'ppo MFG. Co. z).
Zippo Dot Com, Inc., 952 F. Supp. 1119, 1124 (W.D.Pa. 1997).1 The sliding scale
ranges from, on the one hand, ”where the defendant uses an interactive commercial
website to actively transact business with residents of the forum state", to, on the

other hand, ”situations where a passive website merely provides information that is

accessible to users in the forum state", Ackourey v. Sonellas Custom Tailors, 573 Fed.

 

l While Zippo is a district court decision, its sliding scale test has been adopted by many circuits, including the
3rd circuit, See, e.g., Ackourey v. Sonellas Custom Taz'lors, 573 Fed. App’x. 208, 21 l (3rd Cir. 2014) (applying
the test announced in Zippo to a copyright infringement case for materials copied online).

6

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 7 of 15 Page|D: 294

Appz. 208, 211 (3rd Cir. 2014). In the former scenario, Specif`lc jurisdiction exists Id. As the
facts move closer to the latter situation, it is less likely that jurisdiction exists Id.
Operating a website that advertises in and solicits business from the forum
constitutes an interactive, commercial website, thus creating specific jurisdiction.
Zz`ppo, 952 F.Supp. at 1125-1126. In Zippo, the defendant was an online news
provider that sought paid subscriptions to its website, regardless of where the
potential subscribers resided. The court found that since the website was operated
n for commercial gain, the defendant was ”doing business over the Internet”, which is
purposeful availment of the forum in which that business is conducted. Id.

In the present case, Mitchell Hamline is analogous to the defendant in Zippo.
Defendant advertises its online law school to residents in New ]ersey. Defendant
contracts with prospective students from New ]ersey. Defendant receives

. commercial benefit, in the form of tuition, from four residents of New ]ersey. See,
Szaj Dec., 11 8. Defendant provides its services to residents of New ]ersey. See, Szaj
Dec., 11 8. Defendant purposefully avails itself of the markets and economic benefits
of New ]ersey. This purposeful availment creates the basis for specific jurisdiction
in New ]ersey.

Defendant erroneously relies on I<loth z). 50uthern Cliristian Unit)ersity, 320 F.
APP'>< 113, 115_16., to support the Claim that maine instruction is not enough to

establish specific jurisdiction. In Kloth, the Court held that there was no specific

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 8 of 15 Page|D: 295

jurisdiction because the plaintiff did not demonstrate that the online program
intended to engage in business with students who were citizens of the forum state,
Id. The plaintiff, however, only showed that the website was interactive, which is
one factor of the Zz`ppo test. Id. The plaintiff in Kloth unilaterally sought enrollment
in the university by reaching out to the school to inquire into the online program,
she did not rely online advertising. Id. Here, Defendant advertised its online
program in the forum state. By doing so, Defendant intended to engage in business
with student citizens of New ]ersey, which is distinguishable from the unilateral act
of the plaintiff in Kloth.

The contacts with the forum need not be a substantial portion of Defendant's
overall business McGee z). Int’l Life Ins. Co., 355 U.S. 220, 223 (1957). The test for the
adequacy of contact with the forum is the nature and quality of the contacts, not

` merely the quantity thereof. Int'l Shoe, 326 U.S. at 320. In Zippo, the defendant
argued that it did not have sufficient contacts with the forum to establish personal
jurisdiction since only two percent of its subscribers Were residents of the forum.
952 F.Supp. at 1127. The court rejected that reasoning, holding that ”deliberate and
repeated” contacts create the basis for jurisdiction, ”even if they yield little

revenue.” Id. Similarly, Defendant's argument that it only has four New ]ersey
residents enrolled in it ”blenclecl learning programs", Defendant's Brief in Support

p. 3, should be rejected. Defendant has deliberate and repeated contact with New

 

 

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 9 of 15 Page|D: 296

]ersey, as discussed in the previous paragraph Even if these contacts do not yield
great economic value to the school, they are contacts nonetheless

2. Gorbaty’s Claims Relate to and directly Arise From Defendant's Contacts
With NeW ]ersey.

The second prong of the personal jurisdiction analysis is the relatedness of
Defendant's contacts with the forum and the claims asserted. An intentional act
whose effects occur in the forum gives rise to a relatedness between the contacts
and the forum. I<eeton z). Hustler Magazine, Inc. 465 U.S. 770 (1984). The relatedness
cannot emerge from the unilateral act of the plaintiff; put in other words, the
plaintiff cannot create the contact with the forum and claim relatedness See, e.g.,
World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980). However, where the
contacts with the forum are the direct result of the defendant’s actions and the claim
arises from that contact, personal jurisdiction exists See, e.g., Burger King Corp. z).
Rudzcuiicz, 471 U.S. 462 (1985).

To that end, as Mr. Gorbaty is domiciled in Westfield. See Exhibit A -
Defendant's Brief. Defendant's contact with New ]ersey, in the form of its contact
with Mr. Gorbaty gave rise to these claims The purposeful availment of the New
]ersey marketplace is the direct cause of the claims raised in the Complaint.

Defendant's actions and contacts with the forum are directly related to the harm

suffered by Mr. Gorbaty. Since Defendant purposefully availed itself of the forum,

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 10 of 15 Page|D: 297

and such availment is directly related to the clairns, this Court has specific
jurisdiction over Defendant,
3. It is Fair to Exercise Personal ]urisdiction Over Defendant in New ]ersey.
The final prong of the test for specific jurisdiction is fairness to the Defendant
to have him litigate in the forum. Burger Kz`ng, 471 U.S. at 476. Once contact and
relatedness are established, the burden then shifts to the defendant to prove that
litigating in the forum would be so unfair as to render it unconstitutional There are
five factors courts routinely weigh in evaluating the fairness to the defendant 1) the
burden on the defendant; 2) the forum State’s interest in adjudicating the dispute; 3)
the plaintiff's interest in obtaining convenient and effective relief; 4) the interstate
judicial system’s interest in obtaining the most efficient resolution of controversies;
and 5) the shared interest of the several States in furthering fundamental
substantive social policies Id. at 477 ; World-V\/'ide Volkswagen, 444 U.S. at 292. Where
a defendant who ”purposefully has directed [its] activities at forum residents”, but
nonetheless challenges jurisdiction, it must ”present a compelling case that the
presence of some other considerations would render jurisdiction unreasonable.”
Burger Kz'ng, 471 U.S. at 477 . Courts prefer remedial measures much less severe than

dismissal of the action When personal jurisdiction is challenged on the grounds of

reasonableness Id.

10

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 11 of 15 Page|D: 298

It is not unconstitutionally unduly burdensome for defendant to litigate in
New ]ersey. Defendant is a large law school with vast resources Defendant enrolls
close to 400 students in each academic class MITCHELL I-IAMLINE ScHooL oF LAW,
STUDENT PROFILE, https: / / mitchellhamline.edu/ admission/ student-profile/ .
Defendant charges roughly $22,000 per student per semester. MITCHELL HAMLINE
ScHooL oF LAW, TUITIoN AND FINANCING, https:/ / nutchellhamline.edu/ admission/
tuition-and-financing/ . With such great resources, the economic cost of litigating in
New ]ersey is not unconstitutionally burdensome.

Further, buying the defendant’s argument assumes that no federal or state
government would jurisdiction other than Minnesota state and federal court. How
is that fair?

New ]ersey has a strong interest in adjudicating this dispute A forum state's
interest in adjudicating a dispute arises from the desire to protect the rights and
interests of its citizens McGee, 355 U.S at 223. Mr. Gorbaty is a New ]ersey resident,
and has been such for many years New ]ersey has a strong interest in protecting
Mr. Gorbaty’s interests from the undue actions of the Defendant. In the same vein,
Mr. Gorbaty has a strong interest in litigating in New ]ersey to obtain convenient an

effective relief. As a result of his long-term residency in New ]ersey, Mr. Gorbaty

has a strong network and connections in this state. Not only does his family, who

can provide support and comfort in this trying time, live in this state, but Mr.

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Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 12 of 15 Page|D: 299

Gorbaty’s long-trusted counsel is licensed in this forum. These strong ties to New
]ersey provide Mr. Gorbaty with a convenient forum in this state. Moreover, the
New ]ersey judicial system is as effective a forum for relief as any other state,

The interstate judicial system's interest in obtaining efficient resolution of the
controversies alleged in the Complaint dictate that this action be litigated in New
]ersey. The availability of witnesses and evidence is a determinant in weighing this
fairness factor. See, e.g., McGee, 355 U.S. at 223-224. As noted above, Mr. Gorbaty
and his family are residents of New ]ersey. These individuals would be key
witnesses called at trial to testify to the actions taken by Defendant in revoking Mr.
Gorbaty’s enrollment at Defendant's school. The availability of evidence in New
]ersey is great, thus Defendant cannot establish an unconstitutional unfairness to
litigating where the evidence can be found.

The final fairness factor, the shared interests of the several States in
furthering fundamental substantive social policies is rarely invoked and is thus
weighed lightly by courts Even if this factor is determined to weigh against finding
personal jurisdiction in the forum, states employ their choice-of-law rules, rather
than dismiss the action, to find the best way to promote these social policies Burger

I<z'ng, 471 U.S. at 477 . Yet, there is no social policy at stake in this litigation that
would favor one jurisdiction over another. All states have contract law and fraud

protection measures These laws seek to promote the fair dealing and free

12

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 13 of 15 Page|D: 300

enterprise amongst parties This policy is advanced under New ]ersey law.
Therefore, there is no reason why it would be unfair to litigate this action in New
]ersey. Since Defendant, through its intentional contact with the forum,
purposefully availed itself of New ]ersey, engaged in actions in the forum that
directly relate to the current claims, and since Defendant cannot prove that it would
be unconstitutionally unfair to litigate in this state, this Court has personal

jurisdiction over Defendant

13

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 14 of 15 Page|D: 301

POINT II. PLAINTIFF'S SPECIFIC PERFORMANCE CLAIMS AND
CONTRACTUAL CLAIMS MUST SURVIVE PENDING DISCOVERY
PURSUANT TO RULE 26

To sufficiently plead a breach of contract claim under New ]ersey law, a
plaintiff must allege three elements 1. The existence of a valid contract between the
parties; 2. failure of the defendant to perform its obligations under the contract; and
3. a causal relationship between the breach and the plaintiff’s alleged damages
Sheet Metal Workers Int’l Ass’n Local Union No. 27, AFL-CIO 1). E.P. Donnelly, Inc., 737
F3rd. 879, 900 (4rd Cir. 2013.)

In the case at bar, the plaintiff alleges that he was denied due process and

v was unable complete his legal education based upon an arbitrary standard that was
only applied to him. Plaintiff alleges that he was singled out, based upon his
aggressive approach to the law, and that other applicants had similar incidents that
were ignored and / or overlooked

Plaintiff's claims would carry more meat on the bone if he were allowed to
pursue discovery pursuant to Rule 26. To date, the plaintiff has not had opportunity
to engage in any discovery to establish the arbitrary manner in which he was
dismissed from this law school, while others similarly situated, were not dismissed

For this reason, the defendant’s motion is premature and must be denied.

14

 

 

 

Case 2:18-cV-16691-ES-CLW Document 12 Filed 01/12/19 Page 15 of 15 Page|D: 302

POINT III. PLAINTIFF’S CONSUMER FRAUD ACT MUST SURVIVE
To state a claim under the New ]ersey Consumer Fraud Act, the plaintiff must
prove: [1] unlawful conduct; [2] an ascertainable loss; and [3] a causal relationship
between the defendant’s conduct and the plaintiff’s ascertainable loss In't Union 0]
Operating Engineers Local No.: 68 Welfare Fund v. Merck 65 Co., Inc., 192 N.]. 372, 389
(2007).
Bottom line, the plaintiff was defrauded out of his legal education by the

defendant’s conduct. Thus, they have violated the aforesaid Act,

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Attorney for Plaintiff-Howard Gorbaty

Dated: ]anuary 11, 2019

15

 

